      Case 4:15-cv-00520 Document 19 Filed in TXSD on 02/23/16 Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                               February 23, 2016
                              SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                  HOUSTON DIVISION

HELIX ENERGY SOLUTIONS GROUP,                    §
INC., et al,                                     §
                                                 §
        Plaintiffs,                              §
VS.                                              §   CIVIL ACTION NO. 4:15-CV-520
                                                 §
STARR INDEMNITY AND LIABILITY                    §
COMPANY,                                         §
                                                 §
        Defendant.                               §

 ODER GRANTING DEFENDANT STARR INDEMNITY & LIABILITY COMPANY’S
                       MOTION TO STAY

       The Court, having considered the defendant, Starr Indemnity & Liability Company’s

motion to stay, (Dkt. No. 18), is of the opinion that the motion is well taken, and should be and is

GRANTED.

       It is, therefore, ORDERED that proceedings in this Court shall be stayed until the

Underlying Lawsuit is resolved on appeal.

       It is so ORDERED.

       SIGNED on this 23rd day of February, 2016.



                                                  ___________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




1/1
